                  Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 1 of 19



          Solomon & Cohen, P.C.
          7910 Woodmont Ave, Ste 1430
          Bethesda, MD 20814-7047
          Attorneys for Plaintiff, Eyoel Negga


                           UNITED STATES DISTRICT COURT
                     DISTRICT OF MARYLAND – SOUTHERN DIVISION


          EYOEL NEGGA,
                  Plaintiff,
                                                        Civil Action No.
          vs.
          MANN BRACKEN, LLC,
                  Defendant.




                                         COMPLAINT




pds1387
                                                 Page 1 of 19
                       Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 2 of 19




                                                                   Contents

          TABLE OF EXHIBITS .............................................................................................3
          I. PARTIES ................................................................................................................4
          II. JURISDICTION AND VENUE............................................................................4
          III. FACTS APPLICABLE TO ALL COUNTS........................................................5
             A. Initial Letter Claim & Mann Bracken’s False Swearing...................................5
             B. False Swearing as to Creditor’s Identity ...........................................................7
             C. False Swearing as to Account Number ..............................................................8
             D. False Swearing as to the Parties’ Written Arbitration Contract ......................8
             D. Negga’s Arbitration Objection Letter ...............................................................9
             E. FIA/Mann Bracken’s First Reply .....................................................................10
             F. FIA/Mann Bracken’s Second Reply .................................................................11
             G. Dismissal of Arbitration ..................................................................................14
             H. The Fair Debt Collection Practices Act ..........................................................14
          IV. FIRST CAUSE OF ACTION: Unauthorized Third Party Communications. ...16
          V. SECOND CAUSE OF ACTION: False Representations ...................................16
          VI. THIRD CAUSE OF ACTION: False Representation of the Legal Status of a
          Debt. .........................................................................................................................16
          VII. FOURTH CAUSE OF ACTION: Lack of Meaningful Attorney Review .......17
          VIII. FIFTH CAUSE OF ACTION: Taking Action Not Legally Permitted. ..........17
          IX. SIXTH CAUSE OF ACTION: False Representations to Collect Debt ............17
          X. SEVENTH CAUSE OF ACTION: Unfair and Unconscionable Means ............18
          XI. EIGHTH CAUSE OF ACTION: Class Action .................................................18
          XIII. REQUESTED RELIEF ...................................................................................18




pds1387
                                                                  Page 2 of 19
                   Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 3 of 19




                                        TABLE OF EXHIBITS

          Exhibit A: Initial Letter

          Exhibit B: Federal Express Delivery Record

          Exhibit C: Objection Letter

          Exhibit D: Mann Bracken’s First Reply

          Exhibit E: Stay Request

          Exhibit F: Stay

          Exhibit G: All Documents to Arbitrator

          Exhibit H: Second Request

          Exhibit I: Stay Lifted

          Exhibit J: Order dated September 25, 2007




pds1387
                                             Page 3 of 19
                  Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 4 of 19




          Plaintiff, EYOEL NEGGA, by way of Complaint against Defendants, says:

                                            I. PARTIES

          1.   Plaintiff, Eyoel Negga (“Negga”) is an individual residing in the City of

               Dallas, Dallas County, Texas and is a citizen of the State of Texas.

          2.   Defendant, Mann Bracken, LLC (“Mann Bracken”) is a limited liability

               company existing pursuant to the laws of the State of Georgia engaged in the

               practice of law. Mann Bracken maintains its principal business address at

               702 King Farm Boulevard, Rockville, Maryland.


                                II. JURISDICTION AND VENUE

          3.   Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

               1331 with respect to the claims against Mann Bracken under the Fair Debt

               Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

          4.   Supplemental jurisdiction for Plaintiff’s state law claims arises under 28

               U.S.C. § 1367.

          5.   Declaratory relief is available pursuant to under 28 U.S.C. §§ 2201, 2202.

          6.   Venue is appropriate in this federal district pursuant to 28 U.S.C.

               §1391(b)(3) because, Mann Bracken resides in this judicial district.




pds1387
                                             Page 4 of 19
                  Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 5 of 19




                          III. FACTS APPLICABLE TO ALL COUNTS

          7.    FIA Card Services, N.A., a national banking institution, has asserted that

                Negga incurred a financial obligation to Bank of America, N.A. (“BOA”)

                for primarily personal, family, or household purposes.

          8.    That financial obligation is, therefore, a “debt” as that term is defined by 15

                U.S.C. § 1692a(5) and Negga is a “consumer” as that term is defined by 15

                U.S.C. § 1692a(3).


                     A. Initial Letter Claim & Mann Bracken’s False Swearing

          9.    By letter dated January 11, 2008 (“Initial Letter”), Mann Bracken wrote to

                Negga.

          10.   The Initial Letter included: a covering letter; a written claim (“Claim”); a

                summary of account information; a notice of arbitration; and a copy of three

                Delaware statutes.

          11.   A true copy of the Initial Letter is annexed as Exhibit A.

          12.   The Initial Letter was sent using Federal Express and identified by tracking

                number 7914 7482 2210.

          13.   According to the records from Federal Express, the Initial Letter was

                shipped on January 11, 2008 and received by Negga on January 17, 2008.


pds1387
                                               Page 5 of 19
                  Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 6 of 19



          14.   A true copy of such records is attached as Exhibit B.

          15.   On information and belief, Clayton D. Moseley, Esq. was, at all times

                relevant, an attorney at law licensed by the State of Georgia and an

                employee of Mann Bracken.

          16.   The conduct of Clayton D. Moseley, Esq. as alleged in this Complaint was,

                on information and belief, authorized by Mann Bracken, consistent with

                policies and practices of Mann Bracken, and in accordance with training

                provided to attorneys employed by Mann Bracken.

          17.   Mann Bracken and Clayton D. Moseley either (A) uses any instrumentality

                of interstate commerce or the mails in any business the principal purpose of

                which is the collection of any debts or (B) regularly collects or attempts to

                collect, directly or indirectly, debts owed or due or asserted to be owed or

                due another. Therefore, Defendant is a “debt collector” within the meaning

                of 15 U.S.C. §1692a(6).

          18.   As attorneys and debt collectors, Clayton D. Moseley, Esq. and Mann

                Bracken were obligated to undertake meaningful review regarding the

                claims against Negga prior to communicating with Negga or anyone else

                about those claims.




pds1387
                                              Page 6 of 19
                  Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 7 of 19



          19.   On information and belief, on or shortly prior to January 11, 2008, Clayton

                D. Moseley, Esq. transmitted the Claim to the National Arbitration Forum

                (“NAF”), a nonprofit arbitration service provided located in Minnesota.

          20.   The Claim was signed by Clayton D. Moseley, Esq. as an attorney with

                Mann Bracken. Mr. Moseley signed the claim asserting “under penalty of

                perjury, that the information contained in this Claim and the supporting

                documents attached hereto are true and correct.”


                             B. False Swearing as to Creditor’s Identity

          21.   According to the Claim as sworn to by Moseley on behalf of Mann Bracken,

                FIA was formerly known as “Bank of America Corporation.”

          22.   FIA never was formerly known as “Bank of America Corporation.”

          23.   Defendant’s statement was a false statement made under oath and was

                materially false in that, on information and belief, (a) Bank of America

                Corporation is a holding company which owns banks including Bank of

                America, N.A., (b) Bank of America Corporation still exists and never

                changed its name to FIA Card Services, N.A., and (c) FIA is the new name

                for MBNA America Bank, N.A. which, prior to January 2006, was unrelated

                to Bank of America Corporation and, thereafter, became wholly owned by

                Bank of America Corporation. Indeed, Bank of America Corporation, under

                the moniker “BAC” is currently traded on the New York Stock Exchange.

pds1387
                                              Page 7 of 19
                  Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 8 of 19



          24.   Furthermore, on information and belief,

          25.   Clayton D. Moseley, Esq. and Mann Bracken made a false statement under

                oath with respect to FIA’s name and identity.


                              C. False Swearing as to Account Number

          26.   The Initial Letter, including the covering letter, the Claim and the summary

                of account information, refers to enforcement of a claim identified as

                belonging to FIA and bearing account number 4888937990572267.

          27.   To the best of Negga’s knowledge, he was never indebted to FIA, never had

                an account with FIA, never heard of FIA prior to reading the Initial Letter

                and is unaware of any account bearing number 4888937990572267.

          28.   As set forth below, the only account statements subsequently proffered by

                FIA and Mann Bracken reflect a different account number.

          29.   Clayton D. Moseley, Esq. and Mann Bracken made a false statement under

                oath with respect to the account number.


                 D. False Swearing as to the Parties’ Written Arbitration Contract

          30.   The Claim, instead of attaching a copy of the alleged arbitration contract,

                quoted the terms at paragraph 5.

          31.   The quoted terms included an agreement to arbitrate claims before the NAF

                and for FIA to advance all arbitration fees.



pds1387
                                               Page 8 of 19
                  Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 9 of 19



          32.   Clayton D. Moseley, Esq. and Mann Bracken made a false statement under

                oath with respect to the terms of the alleged agreement to arbitrate.


                                D. Negga’s Arbitration Objection Letter

          33.   On February 10, 2008, Negga submitted a letter (“Objection Letter”) to NAF

                with a copy to Mann Bracken.

          34.   The Objection Letter was sent via email and regular mail to Mann Bracken

                and to the NAF.

          35.   A true copy of the Objection Letter, including the covering email, is attached

                as Exhibit C.

          36.   The Objection Letter put NAF, Mann Bracken and FIA on notice that,

                among other things:

                   a. Negga contended that there was no agreement to arbitrate;

                   b. Mann Bracken’s communications with NAF violated the FDCPA’s

                      third party disclosure rules; and

                   c. To proceed with arbitration, Mann Bracken needed to file an action to

                      compel arbitration and to be permitted to communicate with third

                      parties about the alleged debt.

          37.   The Objection Letter demanded that all proceedings before the NAF

                immediately stop.




pds1387
                                               Page 9 of 19
                 Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 10 of 19



                                 E. FIA/Mann Bracken’s First Reply

          38.   By letter dated February 15, 2008 (“First Reply”), Mann Bracken and FIA

                responded to the Objection Letter.

          39.   A true copy of the Initial Reply is attached as Exhibit D.

          40.   In the First Reply, Mann Bracken represented that “the terms and conditions

                your client agreed to by accepting and using the above referenced credit card

                contained an enforceable binding arbitration clause.”

          41.   In the First Reply, Mann Bracken indicated that it would seek an indefinite

                stay of the arbitration so as to allow Mann Bracken to “request from my

                client the documents to support that fact as well as the documents supporting

                the merits of FIA's underlying claim.”

          42.   Implicit in the First Reply is Mann Bracken’s admission that, prior to

                February 15, 2008, it had not reviewed the documents to support the fact that

                Negga agreed to terms and conditions which “contained an enforceable

                binding arbitration clause.”

          43.   Mann Bracken sent a copy of the First Reply to the NAF.

          44.   By document dated February 19, 2008, Mann Bracken submitted to NAF a

                request for an indefinite stay of the arbitration pursuant to NAF’s Code of

                Procedure Rule 9.D. A true copy of the request is attached as Exhibit E.




pds1387
                                               Page 10 of 19
                 Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 11 of 19



          45.   By letter dated February 19, 2008, the NAF stayed the arbitration, a true

                copy of which is attached as Exhibit F.

          46.   By letter also dated February 19, 2008, the NAF notified Mann Bracken and

                Negga’s attorney that all documents and future correspondence would be

                sent to the arbitrator. A true copy of that letter is attached as Exhibit G.


                                F. FIA/Mann Bracken’s Second Reply

          47.   By letter dated April 1, 2008 (“Second Reply”), Mann Bracken forwarded

                certain documents to Negga’s attorney.

          48.   Included in the Second Reply were: covering letter; request to lift indefinite

                stay;   Cardmember       Agreement    Affidavit    with   attached    Cardholder

                Agreement; and an affidavit submitting credit account records with those

                records attached (“Records Affidavit”).

          49.   A true copy of the Second Reply, excluding only the Records Affidavit, is

                attached as Exhibit H.

          50.   The Cardmember Agreement Affidavit contains the sworn statement of Gary

                Springs attaching “the true and correct Cardholder Agreement associated

                with credit card account 4888937990572267” which “is the original

                Agreement sent to the Card member which contained the arbitration clause.”




pds1387
                                               Page 11 of 19
                 Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 12 of 19



          51.   The documents attached to the Cardmember Agreement Affidavit consists of

                five pages. The text, on the fourth page, at paragraph 1.2 is restated below

                because the type is virtually too small to read:

                      1.2: Parties to Agreement. “We,” “us,” and “our” refer to Bank
                      of America, N.A. (USA). “You,” “your,” and “yours” refer to any
                      person (a) whose name appears on a Card or Statement or
                      who uses this Account, or (b) who otherwise agrees to be liable
                      on the Account.

          52.   The text of the Cardholder Agreement annexed to the Cardmember

                Agreement Affidavit, at paragraph 7.19, is restated below because the type is

                virtually too small to read:

                      7.19: Arbitration. Any dispute, claim or controversy (“Claim”)
                      by or between you and us (including each other’s employees,
                      agents, or assigns) arising out of or relating to this Agreement,
                      your Account, or the validity or scope of any provision of this
                      Agreement including this arbitration clause shall, upon election
                      by either you or us, be resolved by binding arbitration.
                      Arbitration shall take place before a single arbitrator on an
                      individual basis without resort to any form of class action.
                      Arbitration may be selected at any time unless a judgment has
                      been rendered or the other party would suffer substantial
                      prejudice by the delay in demanding arbitration.
                      Arbitration, including selection of an arbitrator, shall be
                      conducted in accordance with the rules and procedures for
                      initiating arbitration of the American Arbitration Association
                      (“AAA”). You may contact AAA at 335 Madison Avenue, Floor
                      10, New York, NY 10017-4604 or http://www.adr.org, to obtain
                      rules and forms to initiate arbitration. If AAA is unable or
                      unwilling to serve as the provider of the arbitration or enforce
                      any of the provisions of this agreement, we may substitute
                      another national arbitration organization with similar
                      procedures. This arbitration section of this Agreement shall be
                      governed by the Federal Arbitration Act, 9 U.S.C. § 1-16.

pds1387
                                               Page 12 of 19
                 Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 13 of 19



                      Judgment upon arbitration may be entered in any court having
                      jurisdiction. Arbitration shall be conducted in the federal judicial
                      district in which your billing address is located at the time the
                      claim is filed. If we request arbitration, we will advance
                      applicable AAA fees and expenses. If the arbitrator rules in
                      favor of one party against the other, the other party shall pay all
                      reasonable attorney’s fees and costs of the action on behalf of
                      both parties (including any fees and expenses paid by one
                      party on behalf of the other) unless the arbitrator or court
                      decides such an award would cause a substantial injustice
                      based on the facts and legal arguments set forth in the action.
                      YOU UNDERSTAND AND AGREE THAT IF EITHER YOU OR
                      WE ELECT TO ARBITRATE A CLAIM, THIS ARBITRATION
                      SECTION PRECLUDES YOU AND US FROM HAVING A
                      RIGHT OR OPPORTUNITY TO LITIGATE CLAIMS THROUGH
                      COURT, OR TO PARTICIPATE OR BE REPRESENTED IN
                      LITIGATION FILED IN COURT BY OTHERS, EXCEPT AS
                      OTHERWISE PROVIDED ABOVE, ALL CLAIMS MUST BE
                      RESOLVED THROUGH ARBITRATION IF YOU WE ELECT
                      TO ARBITRATE.

          53.   Based on the Cardmember Agreement Affidavit, Defendant made a false

                statement under oath when, in paragraph 5 of the Claim, it falsely stated the

                terms of the alleged arbitration contract.

          54.   Based on the Cardmember Agreement Affidavit, the NAF never had

                jurisdiction to resolve any disputes between Negga and FIA or Bank of

                America, N.A. because, even if enforced, the Cardholder Agreement

                provided for arbitration before the AAA.

          55.   Along with the Second Reply, Clayton D. Moseley, Esq. and Mann Bracken

                submitted a request to the NAF to lift the indefinite stay, which was granted.

          56.   A true copy of the lifting of the stay is attached as Exhibit I.

pds1387
                                               Page 13 of 19
                 Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 14 of 19



                                      G. Dismissal of Arbitration

          57.   By Order dated September 25, 2008, the NAF dismissed FIA’s arbitration

                claim due to lack of jurisdiction.

          58.   A true copy of the Order is attached as Exhibit J.


                              H. The Fair Debt Collection Practices Act

          59.   The FDCPA regulates the behavior of collection agencies attempting to

                collect a debt on behalf of another. The United States Congress has found

                abundant evidence of the use of abusive, deceptive, and unfair debt

                collection practices by many debt collectors, and has determined that

                abusive debt collection practices contribute to a number of personal

                bankruptcies, marital instability, loss of jobs, and invasions of individual

                privacy. Congress enacted the FDCPA to eliminate abusive debt collection

                practices by debt collectors, to ensure that those debt collectors who refrain

                from using abusive debt collection practices are not competitively

                disadvantaged, and to promote uniform State action to protect consumers

                against debt collection abuses. 15 U.S.C. §§ 1692(a) - (e).

          60.   The FDCPA is a strict liability statute, which provides for actual or statutory

                damages upon the showing of one violation. Whether a debt collector’s

                conduct violates the FDCPA should be judged from the standpoint of the

                “least sophisticated consumer” and not whether the plaintiff has in fact been

pds1387
                                               Page 14 of 19
                 Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 15 of 19



                deceived. Greco v. Traumer, Cohen & Thomas, L.L.P., 412 F.3d 260, 363

                (2d Cir. 2005); Graziano v. Harrison, 950 F.2d 107, 111n5 (3d Cir. 1991);

                Lewis v. ACB Business Services, 135 F.3d 389 (6th Cir. 1998); McMillan v.

                Collection Professionals Inc., 455 F.3d 754 (7th Cir. 2006); Swanson v.

                Southern Oregon Credit Service, Inc., 869 F.2d 1222 (9th Cir. 1988); Jeter v.

                Credit Bureau, Inc., 760 F.2d 1168 (11th Cir. 1985).

          61.   The FDCPA applies to lawyers regularly engaged in consumer debt-

                collection litigation. Heintz v. Jenkins, 514 U.S. 291 (1995). Attorneys do

                not enjoy any common law exemptions from the obligations under the

                FDCPA or immunities from liabilities under the FDCPA. Sayyed v. Wolpoff

                & Abramson, 485 F.3d 226 (4th Cir. 2007).

          62.   To prohibit deceptive practices, the FDCPA, at 15 U.S.C. §1692e, outlaws

                the use of false, deceptive, and misleading collection letters and names a

                non-exhaustive list of certain per se violations of false and deceptive

                collection conduct. 15 U.S.C. §1692e(1)-(16). Among these per se violations

                prohibited by that section are: false representations or implications that any

                individual is an attorney or that any communication is from an attorney, 15

                U.S.C. §1692e(3).

          63.   To prohibit unfair practices, the FDCPA, at 15 U.S.C. § 1692f, prohibits the

                use of unfair or unconscionable means to collect or attempt to collect a debt


pds1387
                                              Page 15 of 19
                 Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 16 of 19



                and names a non-exhaustive list of certain per se violations of false and

                deceptive collection conduct. 15 U.S.C. §1692f(1)-(8).


                   IV. FIRST CAUSE OF ACTION: Unauthorized Third Party
                                    Communications.

          64.   Negga repeats and realleges each allegation in the preceding paragraphs as if

                set forth here at length.

          65.   Clayton D. Moseley, Esq. and Mann Bracken are each “debt collectors”

                within the meaning of the FDCPA.

          66.   Clayton D. Moseley, Esq. and Mann Bracken have communicated with the

                NAF in violation of 15 U.S.C. § 1692c(b).


                    V. SECOND CAUSE OF ACTION: False Representations

          67.   Negga repeats and realleges each allegation in the preceding paragraphs as if

                set forth here at length.

          68.   Clayton D. Moseley, Esq. and Mann Bracken have used false, deceptive and

                misleading representations in connection with the collection of a debt in

                violation of 15 U.S.C. § 1692e.


          VI. THIRD CAUSE OF ACTION: False Representation of the Legal Status of
                                     a Debt.

          69.   Negga repeats and realleges each allegation in the preceding paragraphs as if

                set forth here at length.

pds1387
                                             Page 16 of 19
                   Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 17 of 19



          70.     Clayton D. Moseley, Esq. and Mann Bracken have falsely represented the

                  legal status of a debt in violation of 15 U.S.C. § 1692e(2)(A).


           VII. FOURTH CAUSE OF ACTION: Lack of Meaningful Attorney Review

          71.     Negga repeats and realleges each allegation in the preceding paragraphs as if

                  set forth here at length.

          72.     Clayton D. Moseley, Esq. and Mann Bracken have falsely represented that

                  they undertook meaningful attorney review of the Claim in violation of 15

                  U.S.C. § 1692e(3).


            VIII. FIFTH CAUSE OF ACTION: Taking Action Not Legally Permitted.

          73.     Negga repeats and realleges each allegation in the preceding paragraphs as if

                  set forth here at length.

          74.     Clayton D. Moseley, Esq. and Mann Bracken have taken action by filing an

                  arbitration claim and prosecuting an arbitration proceeding in a forum never

                  agreed to by any party in violation of 15 U.S.C. § 1692e(5).


                IX. SIXTH CAUSE OF ACTION: False Representations to Collect Debt

          75.     Negga repeats and realleges each allegation in the preceding paragraphs as if

                  set forth here at length.

          76.     Clayton D. Moseley, Esq. and Mann Bracken have used false representations

                  to attempt to collect a debt in violation of 15 U.S.C. § 1692e(10).

pds1387
                                                Page 17 of 19
                   Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 18 of 19



                X. SEVENTH CAUSE OF ACTION: Unfair and Unconscionable Means

          77.     Negga repeats and realleges each allegation in the preceding paragraphs as if

                  set forth here at length.

          78.     Clayton D. Moseley, Esq. and Mann Bracken have used unfair or

                  unconscionable means to collect or attempt to collect a debt in violation of

                  15 U.S.C. § 1692f.


                           XI. EIGHTH CAUSE OF ACTION: Class Action

          79.     Negga repeats and realleges each allegation in the preceding paragraphs as if

                  set forth here at length.

          80.     Subject to discovery, Negga reserves the right to amend this Complaint to

                  assert a class action if, through discovery, it appears that the practice of

                  Mann Bracken is to submit claims for arbitration without reviewing the

                  actual agreement.


                                       XIII. REQUESTED RELIEF

          81.     Wherefore, Eyoel Negga demands judgment as follows:

                     a. With respect to the First, Second, Third, Fourth, Fifth, Sixth and

                        Seventh Causes of Action, all damages as permitted under 15 U.S.C. §

                        1692k(a) including but not limited statutory damages, actual damages,

                        and attorneys fees.


pds1387
                                               Page 18 of 19
                 Case 8:09-cv-00098-AW Document 1 Filed 01/16/09 Page 19 of 19



                   b. With respect to the Eight Cause of Action, no relief at this time

                      however Negga may seek such relief if, upon discovery, it appears

                      that a class action under 15 U.S.C. § 1692k and Fed.R.Civ.P. 23 is

                      appropriate.

                   c. Such other relief as this Court deems just and equitable.

                                                     Solomon & Cohen
                                                     s/Matthew Richard Hertz
          Dated: January 16, 2009                            Matthew Richard Hertz
                                                       Attorneys for Plaintiff, Eyoel Negga




pds1387
                                              Page 19 of 19
